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           IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF OKLAHOMA

      1. MARK WAYNE BARNETT,                        )
      2. KELLI JEAN BARNETT,                        )
                                                    )
                                                    )
               Plaintiffs,                          )
                                                    )
 v.                                                 ) Case No. 17-cv-631-JED-JFJ
                                                    )
      1. FARMERS INSURANCE COMPANY,                 )
         INC., a foreign, for-profit insurance      )
         corporation,                               )
                                                    )
               Defendant.                           )

                                      COMPLAINT

                                       A. Parties

          1.   Plaintiffs, Mark Wayne Barnett and Kelli Jean Barnett, are each

 citizens of the State of Oklahoma.

          2.   Defendant, Farmers Insurance Company, Inc., is a foreign,

 for-profit insurance corporation incorporated and organized under the laws of the

 State of Kansas.

          3.   The principal place of business for Defendant, Farmers Insurance

 Company, Inc., is within the State of Kansas.

          4.   The Defendant, Farmers Insurance Company, Inc., is

 licensed to conduct business in the State of Oklahoma and may be served with

 process through the Oklahoma Department of Insurance.
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       5.    This action is not related to any other case filed in this court.

                                    B. Jurisdiction

       6.    The court has jurisdiction over this matter pursuant to 28 U.S.C. §1332

 as there is diversity between the parties and the amount in controversy exceeds

 $75,000.00, exclusive of interest and costs.

                                        C. Facts

        7.    At all times material hereto, Plaintiffs, Mark Wayne Barnett and Kelli

 Jean Barnett, owned a home located at 1413 W. Rockport Street, Broken Arrow,

 Oklahoma, which was insured pursuant to the terms and conditions of an insurance

 policy, policy No. 0308763426, issued by the Defendant, Farmers Insurance

 Company, Inc.

        8.    On or about August 5, 2017, Plaintiffs’ home was damaged as the

 result of wind.

       9.    At all times material hereto, the Plaintiffs, Mark Wayne Barnett and

 Kelli Jean Barnett, were insured under the terms and conditions of an insurance

 policy, policy No. 0308763426, issued by the Defendant, Farmers Insurance

 Company, Inc. Plaintiffs, Mark Wayne Barnett and Kelli Jean Barnett, timely

 submitted a claim to Defendant (Claim No. 3009295752-1-1).

      10. At all times material hereto, Plaintiffs, Mark Wayne Barnett and Kelli

 Jean Barnett, complied with the terms and conditions of their insurance policy.
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      11. Wind is a covered peril and the Plaintiffs’ damages which occurred on or

 about August 5, 2017 are not otherwise excluded pursuant to the terms and

 conditions of the policy issued by the Defendant, Farmers Insurance Company, Inc.

                           D. Count I: Breach of Contract

      12.    Plaintiffs, Mark Wayne Barnett and Kelli Jean Barnett, hereby assert,

 allege and incorporate paragraphs 1-11 herein.

      13. The property insurance policy No. 0308763426, issued by the

 Defendant, Farmers Insurance Company, Inc., was in effect on August 5, 2017.

      14. The acts and omissions of the Defendant, Farmers Insurance Company,

 Inc., in the investigation, evaluation, and denial of Plaintiffs’ claim were

 unreasonable and constitute a breach of contract for which contractual damages are

 hereby sought.

      15. Defendant’s breach of contract includes, but is not limited to, the improper

 denial of Plaintiffs’ claim and the failure to pay for covered damage to the Plaintiffs’

 home, including the Plaintiffs’ wind damaged roofing system. Defendant, Farmers

 Insurance Company, Inc., improperly and unreasonably denied Plaintiffs’ claim

 when the above mentioned loss was covered pursuant to the terms and conditions of

 the policy purchased by Plaintiffs. During its inspection of Plaintiffs’ roofing

 system, Defendant ignored, disregarded, and intentionally refused to consider

 obvious wind damage to Plaintiffs’ shingled roofing surface. Further, Defendant
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 unreasonably utilized a “ladder assist” as an unlicensed adjuster in Plaintiffs’ claim.

 Defendant’s investigation, evaluation, and denial of Plaintiffs’ claim was

 unreasonable, outside of insurance industry standards, and was based upon the

 unreasonable inspection of an unlicensed “ladder assist” who unreasonably ignored

 and refused to consider the covered wind damage to Plaintiffs’ roofing system.

                               E. Count II: Bad Faith

      16. Plaintiffs, Mark Wayne Barnett and Kelli Jean Barnett, hereby assert,

 allege and incorporate paragraphs 1-15 herein.

      17.   The above mentioned acts and omissions of the Defendant, Farmers

 Insurance Company, Inc., in the investigation, evaluation, and denial of Plaintiffs’

 claim were unreasonable and constitute bad faith for which bad faith and

 extra-contractual damages are hereby sought. Defendant unreasonably and in bad

 faith failed to pay for covered damage to the Plaintiffs’ home, including the

 Plaintiffs’ obviously wind damaged roofing system.          Defendant conducted an

 improper and unreasonable claim investigation, evaluation, and adjustment which

 resulted in an unreasonable denial of payment for Plaintiffs’ covered loss.

 Defendant, Farmers Insurance Company, Inc., improperly and unreasonably denied

 Plaintiffs’ claim without proper and reasonable investigation. During its inspection,

 Defendant disregarded obvious wind damage to Plaintiffs’ roofing system and failed

 to consider the wind damage to Plaintiffs’ roof as a whole. During its inspection of
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 Plaintiffs’ roofing system, Defendant ignored, disregarded, and intentionally refused

 to consider obvious wind damage to Plaintiffs’ shingled roofing surface. Further,

 Defendant unreasonably utilized a “ladder assist” as an unlicensed adjuster in

 Plaintiffs’ claim. Defendant’s investigation, evaluation, and denial of Plaintiffs’

 claim was unreasonable, outside of insurance industry standards, and was based

 upon the unreasonable inspection of an unlicensed “ladder assist” who unreasonably

 ignored and refused to consider the covered wind damage to Plaintiffs’ roofing

 system.

     18.   Defendant’s unreasonable, bad faith conduct includes, but is not limited

 to, an unreasonable claim investigation, evaluation, and adjustment which resulted

 in an improper denial of coverage for Plaintiffs’ covered loss.

                          F. Count III: Punitive Damages

     19. Plaintiffs, Mark Wayne Barnett and Kelli Jean Barnett, hereby assert,

 allege and incorporate paragraphs 1-18 herein.

     20.    The unreasonable conduct of the Defendant, Farmers Insurance

 Company, Inc., in the handling of Plaintiffs’ claim was intentional, willful, wanton,

 and was committed with a reckless disregard for the rights of the Plaintiffs for

 which punitive damages are hereby being sought.

                             G. Demand for Jury Trial

     21.   The Plaintiffs Mark Wayne Barnett and Kelli Jean Barnett, hereby
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 request that the matters set forth herein be determined by a jury.

                                      H. Prayer

      22. Having properly pled, Plaintiffs, Mark Wayne Barnett and Kelli Jean

 Barnett, hereby seek contractual, bad faith and punitive damages against the

 Defendant, Farmers Insurance Company, Inc., all in an amount in excess of

 $75,000.00; including costs, interest and attorney fees.



                                        Respectfully submitted,

                                        S/ Michael D. McGrew
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